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          Exhibit 16
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        Why You Should Not Use Ivermectin to Treat or Prevent
                            COVID-19




    COVID-19. We’ve been living with it for what sometimes seems like forever. Given the number
    of deaths that have occurred from the disease, it’s perhaps not surprising that some consumers
    are looking at unconventional treatments, not approved or authorized by the Food and Drug
    Administration (FDA).

    Though this is understandable, please beware. The FDA’s job is to carefully evaluate the
    scientific data on a drug to be sure that it is both safe and effective for a particular use, and then
    to decide whether or not to approve it. Using any treatment for COVID-19 that’s not approved or
    authorized by the FDA, unless part of a clinical trial, can cause serious harm.

    There seems to be a growing interest in a drug called ivermectin to treat humans with COVID-
    19. Ivermectin is often used in the U.S. to treat or prevent parasites in animals. The FDA has
    received multiple reports of patients who have required medical support and been hospitalized
    after self-medicating with ivermectin intended for horses.


    Here’s What You Need to Know about Ivermectin
           FDA has not approved ivermectin for use in treating or preventing COVID-19 in humans.
           Ivermectin tablets are approved at very specific doses for some parasitic worms, and there
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     are topical (on the skin) formulations for head lice and skin conditions like rosacea.
     Ivermectin is not an anti-viral (a drug for treating viruses).

     Taking large doses of this drug is dangerous and can cause serious harm.
     If you have a prescription for ivermectin for an FDA-approved use, get it from a legitimate
     source and take it exactly as prescribed.
     Never use medications intended for animals on yourself. Ivermectin preparations for
     animals are very different from those approved for humans.


What is Ivermectin and How is it Used?
Ivermectin tablets are approved by the FDA to treat people with intestinal strongyloidiasis and
onchocerciasis, two conditions caused by parasitic worms. In addition, some topical (on the
skin) forms of ivermectin are approved to treat external parasites like head lice and for skin
conditions such as rosacea.

Some forms of ivermectin are used in animals to prevent heartworm disease and certain internal
and external parasites. It’s important to note that these products are different from the ones for
people, and safe when used as prescribed for animals, only.


When Can Taking Ivermectin Be Unsafe?
The FDA has not reviewed data to support use of ivermectin in COVID-19 patients to treat or to
prevent COVID-19; however, some initial research is underway. Taking a drug for an
unapproved use can be very dangerous. This is true of ivermectin, too.

There’s a lot of misinformation around, and you may have heard that it’s okay to take large
doses of ivermectin. That is wrong.

Even the levels of ivermectin for approved uses can interact with other medications, like blood-
thinners. You can also overdose on ivermectin, which can cause nausea, vomiting, diarrhea,
hypotension (low blood pressure), allergic reactions (itching and hives), dizziness, ataxia
(problems with balance), seizures, coma and even death.


Ivermectin Products for Animals Are Different from Ivermectin
Products for People
For one thing, animal drugs are often highly concentrated because they are used for large
animals like horses and cows, which can weigh a lot more than we do—a ton or more. Such high
doses can be highly toxic in humans.
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Moreover, FDA reviews drugs not just for safety and effectiveness of the active ingredients, but
also for the inactive ingredients. Many inactive ingredients found in animal products aren’t
evaluated for use in people. Or they are included in much greater quantity than those used in
people. In some cases, we don’t know how those inactive ingredients will affect how ivermectin
is absorbed in the human body.

Meanwhile, effective ways to limit the spread of COVID-19
(https://web.archive.org/web/20210305232400/https://www.cdc.gov/coronavirus/2019-
ncov/prevent-getting-sick/prevention.html) continue to be to wear your mask, stay at least 6
feet from others who don’t live with you, wash hands frequently, and avoid crowds.
